Case 2:18-cr-00422-DJH Document 1267-6 Filed 09/03/21 Page 1 of 3




        Exhibit F
          Case 2:18-cr-00422-DJH Document 1267-6 Filed 09/03/21 Page 2 of 3

                                                              U.S. Department of Justice




                                                              United States Attorney
                                                              District of Arizona
                                                            Two Renaissance Square                Main: (602) 514-7500
                                                            40 N. Central Ave., Suite 1800     Main Fax: (602) 514-7693
                                                            Phoenix, AZ 85004-4408

                                                            July 2, 2018




Paul J. Cambria Jr.                  Jim Grant                                        Robert Corn-Revere
Attorney at Law                      Davis Wright Tremaine, LLP                       Davis Wright Tremaine, LLP
Lipsitz Green Scime Cambria,         1201 Third Avenue,                               1919 Pennsylvania Avenue N.W.,
LLC                                  Suite 2200                                       Suite 800
42 Delaware Ave, Suite 120           Seattle, WA 98101                                Washington, DC 20006
Buffalo, NY 14202                    (attorney for Lacey and Larkin)                  (attorney for Lacey and Larkin)
(attorney for Michael Lacey)

Thomas H. Bienart, Jr., Esq.         Michael D. Kimerer, Esq.                         Bruce Feder, Esq.
Bienart, Miller & Katzman,           1313 E. Osborn Road,                             2930 East Camelback Road,
PLC                                  Suite 100                                        Suite 205
903 Calle Amanecer, Suite 350        Phoenix, AZ 85014                                Phoenix, AZ 85016
San Clemente, CA 92673               (attorney for Jed Brunst)                        (attorney for Scott Spear)
(attorney for James Larkin)

KC Maxwell, Esq.                     Mike Piccarreta, Esq.                            Steve Weiss
Maxwell Law PC                       Piccarreta Davis Keenan Fidel, PC                Attorney at Law
899 Ellis Street                     2 East Congress Street,                          Karp & Weiss, PC
San Francisco, CA 94109              Suite 1000                                       3060 North Swan Rd.
(attorney for Dan Hyer)              Tucson, AZ 85701                                 Tucson, AZ 85712
                                     (attorney for Andrew Padilla)                    (attorney for Joye Vaught)


          Re:      U.S. v. Michael Lacey, et.al.
                   CR-18-00422-PHX-SPL (BSB)

  Dear Counsel:

         Pursuant to your request for discovery and the government’s obligations under Fed. R.
  Crim. P. 16 and the stipulated scheduling order in this case, please find enclosed a thumb drive
  containing the government’s second disclosure. 1 The thumb drive contains the following Bates
  Stamped records:
  1
   A thumb drive containing disclosure for defendants Michael Lacey and James Larkin are being provided to Paul J.
  Cambria Jr. and Thomas H. Bienart Jr., respectively.
         Case 2:18-cr-00422-DJH Document 1267-6 Filed 09/03/21 Page 3 of 3
Lacey, et. al. Discovery Letter 1
July 2, 2018
Page 2


    •    Released Records – DOJ-BP-0004426712-DOJ-BP-0004598396 2
    •    Civil Seizure Warrants – DOJ-BP-0004598397-DOJ-BP-0004601038


Please call with any questions or concerns.




                                                               Sincerely,

                                                               ELIZABETH A. STRANGE
                                                               First Assistant United States
                                                               Attorney
                                                               s/Reginald E. Jones
                                                               REGINALD E. JONES
                                                               Senior Trial Attorney, USDOJ

                                                               KEVIN M. RAPP
                                                               MARGARET PERLMETER
                                                               PETER S. KOZINETS
                                                               ANDREW STONE
                                                               Assistant U.S. Attorneys
                                                               JOHN J. KUCERA
                                                               Special Assistant U.S. Attorney


Enclosures




2
 USAO 108 subpoena, PSI, and USAO 359 subpoena records mistakenly withheld from the government’s May 25,
2018, original disclosure.
